        Case
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 7

 8

 9                                UNITED STATES DISTRICT COURT
10                                       DISTRICT OF NEVADA
11 UNITED STATES OF AMERICA,                        )
                                                    )
12                Plaintiff,                        ) Case No. 2:04-CR-219-LDG-VCF
                                                    )
13         v.                                       )
                                                    )
14 MICHAEL ARMSTRONG,                               )
                                                    )
15                Defendant.                        )
16                  MOTION TO VACATE JUDGMENT DEBTOR EXAMINATION
17         COMES NOW the United States of America, by and through Daniel G. Bogden, United States

18 Attorney, and Roger W. Wenthe, Assistant United States Attorney, and moves this Honorable Court for

19 an order to vacate the Supplementary Proceedings (Judgment Debtor Examination) scheduled for

20 December 1, 2014 at 1:00p.m. This motion is made because the United States Marshal Service or

21 private service was unable to locate the defendant Michael Armstrong.

22         DATED this 19th day of November, 2014.

23                                                           DANIEL G. BOGDEN
                                                             United States Attorney
24
                                                             /s/ Roger W. Wenthe
25                                                           ROGER W. WENTHE
                                                             Assistant United States Attorney
26
        Case
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 1                              UNITED STATES DISTRICT COURT
 2                                      DISTRICT OF NEVADA
 3

 4 UNITED STATES OF AMERICA,                        )
                                                    )
 5                Plaintiff,                        ) Case No. 2:04-CR-219-LDG-VCF
                                                    )
 6         v.                                       )
                                                    )
 7 MICHAEL ARMSTRONG,                               )
                                                    )
 8                Defendant.                        )
 9

10                                    ORDER TO VACATE JUDGMENT
                                         DEBTOR EXAMINATION
11

12         This cause came before the Court on Plaintiff’s Motion to Vacate, and good cause appearing.
13         IT IS HEREBY ORDERED, ADJUDGED, and DECREED that plaintiffs’ Motion to Vacate

14 Supplementary Proceedings (Judgment Debtor Examination) scheduled for December 1, 2014 at

15 1:00p.m. be granted.

16

17

18                             November 19
           DATED this day of __________________ 2014.
19
                                                              _______________________________
20                                                            United States Magistrate Judge
21

22 SUBMITTED BY:

23 DANIEL G. BOGDEN
   United States Attorney
24

25 /s/ Roger W. Wenthe
   ROGER W. WENTHE
26 Assistant United States Attorney
